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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION

  S.S. WHITE TECHNOLOGIES INC., D/B/A
  SHUKLA MEDICAL, a Florida Corporation
                                                      Case No.:
            Plaintiff,
                                                      JURY TRIAL DEMANDED
  v.

  MAHE MEDICAL USA,
  a Colorado Corporation,

            Defendant.


                                    COMPLAINT

       Plaintiff S.S. White Technologies Inc. D/B/A Shukla Medical (“Plaintiff” or

“Shukla Medical”) brings this action for trademark infringement, unfair

competition, false advertising and false designation of origin, and related claims

under Florida law for trademark infringement and unfair competition against

Defendant Mahe Medical USA (“Defendant” or “Mahe”), and alleges as follow:

                                    THE PARTIES

       1.       Plaintiff Shukla Medical is a privately-held company organized under

the laws of Florida with a principal place of business located at 8300 Sheen Drive,

St. Petersburg, FL, 33709. Shukla Medical is in the business of researching,

developing, manufacturing, and selling universal orthopedic extraction
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instruments.


      2.       On information and belief, Defendant Mahe Medical USA is a

privately held corporation organized under the laws of Colorado with its principal

place of business located in 3821 Beech Street, Laramie, WY 82070. Mahe’s is in

the business of selling orthopedic, spine, and craniomaxillofacial (CMF) medical

devices, implants and instruments manufactured by its parent company Mahe

Medical GmbH, throughout the United States.

                           JURISDICTION AND VENUE

      3.       This Court has jurisdiction over the subject matter of this action

pursuant to 15 U.S.C. § 1121 (Lanham Act), 28 U.S.C. § 1331 (federal question),

and 28 U.S.C. § 1338 (trademark and unfair competition).

      4.       This Court has supplemental jurisdiction over Plaintiff’s Florida

common law claims pursuant to 28 U.S.C. § 1367.

      5.       The Court further has jurisdiction over Shukla Medical’s common law

claims pursuant to 28 U.S.C. § 1332 because Plaintiff and Defendant are citizens

of different states and the amount in controversy is higher than $75,000.

      6.       The Court has personal jurisdiction over Defendant because, upon

information and belief, Defendant has marketed and sold medical equipment in the

State of Florida. Fla Stat. §48.193(1)(a)(1), §48.193(1)(a)(2) and §48.193(1)(a)(6).

      7.       Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)
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because Defendant has marketed and sold medical equipment subject to this action

in the State of Florida.

                             STATEMENT OF FACTS

                           The Shukla Medical Trademark

      8.     Shukla Medical provides universal orthopedic extraction technologies

to the healthcare industry in the United States and abroad.

      9.     Shukla Medical provides universal orthopedic extraction technologies

to the healthcare industry in the United States and abroad.

      10.    Shukla Medical has adopted and used continuously, since 2004, the

trademark XTRACT-ALL (the “Shukla Medical Mark”) in connection with the

promotion and marketing of its surgical extraction technologies.

      11.    Shukla Medical has expended substantial time, money, and other

resources in developing, advertising and otherwise promoting the Shukla Medical

Mark. As a result, the Shukla Medical Mark is recognized and associated by

relevant consumers with Shukla Medical’s services and products.

      12.    Extensive goodwill has developed in the Shukla Medical Mark and in

connection with its use by Shukla Medical in the healthcare industry. As a result

of Shukla Medical’s long, extensive, and exclusive use, the Shukla Medical Mark

has become extremely well known and favorably regarded in the healthcare
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industry.

      13.    On January 10, 2006 the United States Patent and Trademark Office

issued Registration No. 3039254 (the “’254 Mark”) to Shukla Medical for use of

the XTRACT-ALL Mark in connection with orthopedic implant removal devices.

Attached hereto as Exhibit 1 is a true and correct coy of the registration certificate

for the ’254 Mark.


 Mark                Reg. Date
                          Reg. No. Goods/Services
 XTRACT-ALL Jan. 10, 2006 3039254 Hand-held and manually operated
                                   medical tools and instruments used in
                                   orthopedic implant removal procedures,
                                   namely mallets, ratchets, sockets,
                                   wrenches, pliers, screwdrivers,
                                   universal nail and rod extraction
                                   systems consisting primarily of
                                   orthopedic nails and nail rod extractors
                                   for use in orthopedic implant removal
                                   procedures, universal spine implant
                                   removal systems consisting primarily of
                                   thoracolumbar construct extractors, rod
                                   clamping pliers, open-end wrenches and
                                   counter-torque drivers, universal maxi
                                   ratcheting screwdriver system
                                   consisting primarily of bone
                                   screwdriver shafts and ratcheting
                                   screwdriver handle, universal mini
                                   ratcheting screwdriver removal system
                                   consisting primarily of small bone
                                   screwdriver shafts and a mini ratcheting
                                   screwdriver, universal compression hip
                                   screw removal system consisting
                                   primarily of trephines, chisels,
                                   extractors, and screwdriver, universal
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                                               broken bone screw removal system
                                               consisting primarily of broken bone
                                               extractor shafts and screwdriver handle,
                                               universal stripped bone screw removal
                                               system consisting primarily of stripped
                                               bone screw extractor shafts, and
                                               sterilization cases

      14.   The Shukla Medical Mark has been in continuous use since March 10,

2004 and has never been abandoned. Said registration is valid, subsisting in full

force and effect, and has become incontestable pursuant to 15 U.S.C. § 1065.

      15.   The registration of the ’254 Mark constitutes conclusive evidence of

its validity and conclusive evidence of Shukla Medical’s exclusive right to use the

Shukla Medical Mark in connection with the goods identified therein.

      16.   The registration of the Shukla Medical Mark on January 10, 2006

provides notice to Defendant of Shukla Medical’s priority, ownership, and

exclusive rights in the Shukla Medical Mark.

      17.   Shukla Medical has acquired common law rights in the Shukla

Medical Mark by its use of this mark throughout the United States.
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            Defendant’s Acts of Infringement and Unfair Competition

      18.    Upon information and belief, Mahe has sold and is currently selling

orthopedic, spine, and craniomaxillofacial (CMF) medical devices, implants, and

instruments, including instruments for orthopedic implant removal, manufactured

by Mahe Medical GmbH in Germany, throughout the United States, including




Florida, under the trademark Xtracta-Screw (the “Xtracta-Screw Mark”). Attached

hereto as Exhibit 2 are true and accurate screenshots of Defendant’s website pages

showing Defendant’s use of the Shukla Medical Mark.

      19.    Upon information and belief, Defendant commenced using the

Xtracta-Screw Mark in the U.S. in connection with its business in 2021, long after

Shukla Medical began using its Shukla Medical Mark in 2004.

      20.     Upon information and belief, Mahe uses the Xtracta-Screw Mark in

connection with sales, advertising, marketing, and promotional activities which are

targeted to the healthcare community. Upon information and belief, Mahe

promotes its business throughout the United States and Florida, including through

its website https://mahemedical.com/products/xtracta-screw.
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      21.    Shukla Medical has never authorized Defendant Mahe to use the

“Xtracta-Screw” designation (the “Shukla Medical designation”), and Defendant

adopted the Xtracta-Screw designation without Shukla Medical’s consent.

      22.    Shukla Medical has priority over Defendant based on its registered

mark and its use of the Shukla Medical Mark in commerce since at least as early as

2004, long prior to Defendant’s use of the designation.

      23.    Defendant’s use of the designation “Xtracta-Screw” is likely to cause

confusion, mistake or deception as to the source or origin of its goods. This

confusion is likely to damage Shukla Medical’s goodwill and business reputation

in the United States and Florida.

      24.    The designation of “Xtracta-Screw” is likely to be confused with the

Shukla Medical Mark because the designation and mark are similar in appearance,

sound, pronunciation, meaning, and overall commercial impression.

      25.    There is significant overlap between the Defendant’s goods and

Shukla Medical’s, since they are both for identical goods i.e., orthopedic implant

removal devices sold in the healthcare industry.

      26.    As such, Defendant’s use of the designation “Xtracta-Screw” is likely

to cause confusion, mistake, or deception as to the source or origin, sponsorship, or

approval of its products. This confusion has and will continue to damage Shukla

Medical’s goodwill and business reputation.
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      27.    Shukla Medical and Defendant use some of the same channels of

marketing and target the same class of consumers, e.g., orthopedic departments of

hospitals and orthopedic surgeons.

      28.    As such, consumers are likely to wrongly associate Defendant with

Shukla Medical and assume that the designation “Xtracta-Screw” emanates from,

or is approved, licensed, sponsored by, or otherwise affiliated with Shukla

Medical.

      29.    Defendant’s conduct is likely to result in consumer confusion.

      30.    Defendant’s acts constitute trademark infringement of the Shukla

Medical Mark. Defendant’s infringement is willful, and with full knowledge of

Shukla Medical’s rights and interest in the Shukla Medical Mark.

      31.    Defendant’s actions have been, and unless enjoined will continue to

be, in violation of Federal and Florida State law governing trademark infringement

and unfair competition and are causing and will cause damage and immediate and

irreparable harm to Shukla Medical, including lost revenues, loss of control of its

reputation, and loss of goodwill.

                                   COUNT I
                 FEDERAL TRADEMARK INFRINGEMENT
                  (15 U.S.C. §§ 1114-1117; Lanham Act § 32)

      32.    Shukla Medical repeats and realleges each of the allegations in the

foregoing paragraphs as though fully set forth herein.
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      33.    Defendant, without authorization from Shukla Medical, has used and

is continuing to use a designation that is confusingly similar to Shukla Medical’s

Shukla Medical Mark, the registration of which has attained incontestable status.

      34.    The foregoing acts of Defendant are intended to cause, have caused,

and are likely to continue to cause confusion, mistake, and deception among

clients, the public, and the industry as to whether Defendant’s products originate

from, or are affiliated with, sponsored by, or endorsed by Shukla Medical.

      35.    Upon information and belief, Defendant has acted with knowledge of

Shukla Medical’s ownership of the Shukla Medical Mark and with deliberate

intention or willful blindness to unfairly benefit from the goodwill symbolized

thereby.

      36.    Upon information and belief, Defendant has made and will continue

to make substantial profits and gains to which it is not entitled in law or equity.

      37.    Upon information and belief, Defendant intends to continue its

infringing acts unless restrained by this Court.

      38.    As a direct and proximate result of Defendant’s infringing activities,

Shukla Medical has been or will be irreparably harmed and damaged. Shukla

Medical’s remedies at law are inadequate to compensate for this harm and damage.

      39.    Defendant’s actions, as set forth above, and Defendant’s use of the

Shukla Medical Mark constitute or will constitute infringement of Shukla
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Medical’s registered trademark in violation of Lanham Act, 15 U.S.C. § 1114 and

entitle Shukla Medical to an injunction against said use pursuant to 15 U.S.C. §

1116.

        40.   Defendant’s infringement of Shukla Medical’s trademark as alleged

herein is an exceptional case and is intentional, entitling Shukla Medical to treble

its actual damages, disgorgement of Defendant’s profits, costs of this action, and to

an award of reasonable attorneys’ fees under 15 U.S.C. § 1117(a).

                            COUNT II
   FALSE DESIGNATION OF ORIGIN AND UNFAIR COMPETITION
              (15 U.S.C. § 1125; Lanham Act § 43(a))

        41.   Shukla Medical repeats and realleges the allegations in the foregoing

paragraphs 1-40 as though fully set forth herein.

        42.   Defendant’s actions, as set forth above, are intended or are likely to

confuse, mislead, or deceive clients, the public, and the industry as to the origin,

source, sponsorship, or affiliation of Defendant’s goods or services, or are intended

or are likely to cause such parties to mistakenly believe that Defendant’s goods

have been authorized, sponsored, approved, endorsed or licensed by Shukla

Medical, or that Defendant is in some way affiliated with Shukla Medical.

        43.   Such actions constitute unfair competition and false designation of

origin in violation of the Lanham Act, 15 U.S.C. § 1125(a).

        44.   Upon information and belief, Defendant has acted willfully and
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deliberately and has profited and been unjustly enriched.

      45.      By virtue of the foregoing, Defendant has caused Shukla Medical to

suffer injuries for which it is entitled to recover compensatory damages in an

amount to be determined at trial.

      46.      In addition, Defendant’s acts are causing and continue to cause Shukla

Medical irreparable harm in lost sales and revenue, loss of control over its

reputation and loss of consumer goodwill.

      47.      This irreparable harm to Shukla Medical will continue, without any

adequate remedy at law, unless and until Defendant’s unlawful conduct is enjoined

by this Court.

                                    COUNT III
                             FALSE ADVERTISING
                      (15 U.S.C. § 1125; Lanham Act § 43(a))

      48.      Shukla Medical repeats and realleges the allegations in paragraphs 1-

40 as though fully set forth herein.

      49.      Defendant has advertised orthopedic, spine, and craniomaxillofacial

(CMF) medical devices, implants, and instruments, including instruments for

orthopedic implant removal, manufactured by Mahe Medical GmbH in Germany,

throughout the United States, including Florida, under the trademark Xtracta-

Screw (the “Xtracta-Screw Mark”) on their website, in promotional literature, and

in catalogs.
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      50.     Defendant has generated and maintained these advertisements

utilizing a mark that was purposely adopted to confuse consumers into believing

they were purchasing products associated with Shukla Medical and their Shukla

Medical Mark.

      51.     The content of the Defendant’s advertising is therefore false and/ or

misleading.

      52.     The advertising by the Defendant conscripting the Shukla Medical

Mark has confused consumers and/or has the capacity to confuse consumers.

      53.     Defendant has utilized these false advertisements to misrepresent

products sold throughout the United States in interstate commerce.

      54.     Shukla Medical has been harmed and is likely to continue to be

harmed by the false advertising set forth by Defendant.

                           COUNT IV
              COMMON LAW TRADEMARK INFRINGEMENT

      55.     Shukla Medical repeats and realleges the allegations in the foregoing

paragraphs 1-40 as though fully set forth herein.

      56.     Shukla Medical owns all rights, title, and interest in and to the Shukla

Medical Mark, including all common law rights in such mark.

      57.     Defendant, without authorization from Shukla Medical, has used and

is continuing to use a designation that is confusingly similar to Shukla Medical’s

trademark.
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      58.    The foregoing acts of Defendant are intended to cause, have caused,

and are likely to continue to cause confusion, mistake, and deception among

clients, the public, and the industry as to whether Defendant’s products originate

from, or are affiliated with, sponsored by, or endorsed by Shukla Medical.

      59.    Upon information and belief, Defendant has acted with knowledge of

Shukla Medical’s ownership of the Shukla Medical Mark and with deliberate

intention or willful blindness to unfairly benefit from the goodwill symbolized

thereby.

      60.    Defendant’s actions, as set forth above, and Defendant’s use of the

Shukla Medical Mark constitute or will constitute common law trademark

infringement in violation of Florida common law.

      61.    Upon information and belief, Defendant has made and will continue

to make substantial profits and gains to which it is not entitled in law or equity.

      62.    Defendant’s acts are causing and continue to cause Shukla Medical

irreparable harm in lost sales and revenue, loss of control over its reputation and

loss of consumer goodwill.

      63.    Upon information and belief, Defendant intends to continue its

infringing acts unless restrained by this Court.

      64.    Defendant’s acts have damaged and will continue to damage Shukla

Medical, and
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Shukla Medical has no adequate remedy at law.

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff Shukla Medical respectfully requests that this

Court enter judgment against Defendant as follows:

      A.     Preliminary and permanent injunctive relief enjoining and restraining

Defendant and its officers, directors, agents, employees, attorneys, and all other

persons in privity or acting in concert with them from using orally, in writing, in

connection with any product or media, the Shukla Medical designation or any

term, mark, logo, trade name, Internet domain name or any other identifier or

symbol of origin that is confusingly similar to the Shukla Medical Mark;

      B.     Finding that (1) Defendant has violated Section 32 of the Lanham Act

(15 U.S.C. § 1114); (2) Defendant has violated Section 43(a) of the of the Lanham

Act (15 U.S.C. § 1125(a)); and (3) Defendant has committed acts of trademark

infringement in violation of Florida common law;

      C.     Award such damages as Plaintiff shall establish in consequence of

Defendant’s acts of trademark infringement, false designation of origin, and unfair

competition, including interest and an award of three times the amount of actual

damages pursuant to 15 U.S.C. § 1117;

      D.     That this case be deemed an exceptional case and award Shukla

Medical its costs and expenses, including its reasonable attorney’s fees to the full
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extent provided by Section 35 of the Lanham Act (15 U.S.C. § 1117);

      E.     Order Defendant to recall and deliver up for destruction any and all

goods, product packaging, promotional materials, and all other material which

bears the Shukla Medical designation pursuant to 15 U.S.C. § 1117;

      F.     Order that Defendant and its officers, directors, agents, employees,

attorneys, and all other persons in privity or acting in concert with them take

affirmative steps to dispel any actual confusion that heretofore has been created by

the trademark infringement described above;

      G.     Order Defendant, pursuant to Section 34(a) of the Lanham Act, 15

U.S.C. § 1116(a), to file with this Court and to serve on Shukla Medical within

thirty days after entry of the injunction a report in writing under oath setting forth

in detail the manner and form in which Defendant has complied with the

injunction; and

      H.     Grant such other and further relief as the Court deems just and proper.

                                  JURY DEMAND

      Plaintiff demands a trial by jury for all issued so triable as a matter of right.



DATED: December 18, 2023                Respectfully submitted,


                                        By: _Zachary D. Messa_____
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